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AO 91 (Rev. 11/11) Criminal Complaint


                                        UNITED STATES DISTRICT COURT
                                                         for the
                                              Northern District of New York
UNITED STATES OF AMERICA                             )
               v.                                    )
ANTHONY BEVERLY,                                     )       Case No.    5:23-MJ-664 (ML)
                                                     )
                                                     )
                                                     )
                                                     )
                        Defendant                    )

                                              CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of October 26, 2023 in the county of Onondaga in the Northern District of New York

the defendant violated:

            Code Section                                                 Offense Description
18 U.S.C. § 922(g)(1)                            Possession of firearm and ammunition by prohibited person



This criminal complaint is based on these facts:
See attached affidavit.
 ☒       Continued on the attached sheet.


                                                                        Complainant’s signature
                                                                    John J. Honan, Special Agent, FBI
                                                                          Printed name and title

Attested to by the affiant in accordance with Rule 4.1 of the Federal Rules of Criminal Procedure.

Date:      November 8, 2023
                                                                            Judge’s signature

City and State:           Binghamton, NY                       Hon. Miroslav Lovric, U.S. Magistrate Judge
                                                                          Printed name and title
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

                AFFIDAVIT IN SUPPORT OF A CRIMINAL COMPLAINT

       I, John Honan, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I make this affidavit in support of a criminal complaint charging Anthony Beverly

with violating Title 18, United States Code, Section 922(g)(1), Possession of a Firearm and

Ammunition by a Felon.

       2.      I am a Special Agent with the Federal Bureau of Investigation and have been since

July 2022. While serving as an FBI Special Agent I have conducted and participated in

investigations involving narcotics trafficking, firearms trafficking, and violent crimes.

       3.      The facts in this affidavit come from my personal observations, my training and

experience, conversations with other FBI Special Agents, and information obtained from other law

enforcement officers. This affidavit is intended to show merely that there is probable cause for the

requested complaint and does not set forth all my knowledge about this matter.

       4.      Based on my training and experience and the facts as set forth in this affidavit, there

is probable cause to believe that Anthony Beverly has violated Title 18, United States Code Section

922(g)(B), Possession of a Firearm and Ammunition by a Felon.

                         FACTS SUPPORTING PROBABLE CAUSE

       5.      On or about October 26, 2023, members of the Syracuse Police Department (SPD)

responded to 708 W Colvin Street in response to a stabbing with injuries complaint. This stabbing

involved two males. One of the victims, who was found on the front porch of 708 W. Colvin Street,

was pronounced dead on scene, herein referred to as Victim 1. The other victim, later identified as
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Anthony Beverly, was found in front of 704 W. Colvin Street. Beverly was transported to Upstate

Hospital for treatment for severe lacerations.

       6.       Responding SPD officers observed a blood trail from the front porch where Victim

1 was found leading to the upstairs apartment located at 708 West Colvin Street.1 The door to the

upstairs apartment was open. SPD conducted a law enforcement clear of the apartment to ensure

that there were not any additional victims inside the residence. During SPD’s visual sweep of the

apartment, a Glock handgun magazine and a live round of ammunition were observed in the closet

of a bedroom.

       7.       A search warrant was signed by a Syracuse City Court Judge to search the residence

of 708 West Colvin Street, Syracuse, NY for evidence of violations of New York State Penal Law

sections 125 and/or 265. This house was described as a two-family duplex. This search authorized

the search of items including but not limited to knives, cutting instruments, firearms, magazines,

ammunition, and electronic devices. During the course of this search, multiple firearms, cell

phones, quantities of suspected narcotics, ammunition, firearm magazines, and U.S. currency were

located.

       8.       During the course of this search and subsequent investigation, it was determined

that the upstairs apartment of the two-family home was leased to Beverly, who used a different

identity on the lease. Law enforcement also learned that Victim 1 had been staying with Beverly

for a few weeks. Both individuals had separate bedrooms within this apartment. Victim 1 used the

front bedroom. The front bedroom was identified as that used by Victim 1 in part because law



1
  At 708 West Colvin Street, there is an upstairs apartment, and a downstairs apartment. The
responding officers also observed a blood trail and pool of blood outside the entrance door to the
lower apartment, which entry door was locked.

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enforcement found paperwork and documents bearing Victim 1’s name, including a birth

certificate, and legal documents for a legal action in which Victim 1 was a party.

       9.       Beverly’s bedroom was the rear bedroom, as he acknowledged in an interview with

police investigators, described in more detail below. During a search of the rear bedroom, law

enforcement searched a safe, which was unlocked and open, next to the bed. Inside the safe, law

enforcement observed a wallet containing Beverly’s New York State Driver’s License. In addition,

there were multiple Navy Federal Credit Union credit cards in this wallet with Anthony Beverly

as the listed cardholder.

       10.      Also in this safe were two handguns. The first handgun was a fully assembled

framed Rock Island Armory handgun, model M1911A1FS, bearing serial number RIA2498834.

This handgun had a loaded magazine present in the receiver. The second handgun was a Glock 19

GEN 4, 9mm. The slide on this handgun was separated from the lower receiver. The slide of this

handgun was etched with serial number BESP257.

       11.      Other items were located and seized during the search of the apartment, including:

                a.     A Black framed Sig Sauer P365 XL 9mm handgun bearing serial number

                       66F365296 located in the rear bedroom closet;

                b.     In that same closet, approximately 15 partial or full boxes of various calibers

                       of ammunition. Loose ammunition was also found throughout the

                       apartment.

                c.     Two ProMag drum-style extended magazines, two extended handgun

                       magazines, and three rifle magazines were located in a shoebox in a

                       common area in the apartment during the course of the search.



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                d.     A knotted plastic bag containing a white chunky material suspected to be a

                       controlled substance was recovered from the kitchen drawer; a knotted

                       plastic bag containing blue and white colored tablets suspected to be a

                       controlled substance was recovered from the rear bedroom floor; and a

                       beige chunky substance in knotted plastic baggies, containing a suspected

                       controlled substance, recovered from between the mattress and wall in the

                       rear bedroom.

       12.      On or about November 2, 2023, Beverly was interviewed by members of the SPD.

Beverly had his attorney present for the interview and was read his Miranda Rights before

questioning. Beverly agreed to speak with investigators. During this interview, Beverly stated that

his apartment was the upstairs unit at 708 W Colvin Street. Beverly stated that his bedroom was

in the back of the residence (the “rear bedroom” discussed above). During the interview, Beverly

stated that he allowed Victim 1 to stay in the apartment, and that when he moved in, Victim 1 had

firearms in his possession. Beverly said that he offered to store the firearms in his safe. Beverly

stated that his fingerprints may be on the firearms and magazines found within his room. Beverly

stated that he also had offered to store “coke” in his room on behalf of Victim 1. Beverly claimed

ownership of the bedroom with the safe in it as well as the safe itself.

       13.      According to a criminal history check, on or about September 23, 2015, Beverly

was sentenced in Onondaga County Court to 2 to 6 years’ imprisonment as a result of his

conviction for possession of a forged instrument in the first degree.

       14.      Your affiant viewed the publicly available websites for Rock Island Armory and

Glock and determined that (1) Rock Island Armory manufactures its firearms in Marikina,

Philippines, or Nevada, United States, and (2) Glock manufactures its firearms in Austria or

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Georgia, United States. Your affiant also analyzed the headstamp on 20 rounds of 9mm

ammunition that was located during the search on a table in the living room of the apartment and

determined that they were Federal Premium Ammunition. According to Federal Premium

Ammunition, its products are manufactured in Minnesota, United States.

                                       CONCLUSION

       15.      Based on the aforementioned information, I respectfully submit that there is

probable cause to believe that Anthony Beverly has violated United States Code Title 18, Section

922(g)(1), Possession of a Firearm and Ammunition by a Felon and respectfully request that the

Court authorize the filing of the accompanying complaint so that Beverly may be brought to court

for further proceedings in accordance with law.

ATTESTED TO BY THE APPLICANT IN ACCORDANCE WITH THE REQUIREMENTS OF
RULE 4.1 OF THE FEDERAL RULES OF CRIMINAL PROCEDURE.



                                                      ___________________________________
                                                      John J. Honan
                                                      Special Agent
                                                      Federal Bureau of Investigation


I, the Honorable Miroslav Lovric, United States Magistrate Judge, hereby acknowledge that this
affidavit was attested by the affiant by telephone on November 8, 2023, in accordance with Rule
4.1 of the Federal Rules of Criminal Procedure.


       ____________________________
       Hon. Miroslav Lovric
       U.S. Magistrate Judge




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